                      Case 16-42555                 Doc 25           Filed 02/01/19 Entered 02/01/19 13:42:35                                      Desc Main
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1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF MINNESOTA


                   In Re:                                                                          §
                                                                                                   §
                   HOEMBERG, MICHAEL EDWIN                                                         §           Case No. 16-42555 KHS
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    08/30/2016 . The undersigned trustee was appointed on 08/31/2016 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $               15,733.28

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                               8.25
                                                     Bank service fees                                                                   209.03
                                                     Other payments to creditors                                                           0.00
                                                     Non-estate funds paid to 3rd Parties                                                  0.00
                                                     Exemptions paid to the debtor                                                         0.00
                                                     Other payments to the debtor                                                          0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $               15,516.00

                    The remaining funds are available for distribution.


             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 12/27/2016 and the
      deadline for filing governmental claims was 12/27/2016 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 2,323.33 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 2,323.33 , for a total compensation of $ 2,323.33 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 142.38 , for total expenses of $ 142.38 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 01/02/2019                                     By:/s/RANDALL L. SEAVER, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                    ASSET CASES                                                                                Exhibit A
Case No:             16-42555              Judge: KATHLEEN H SANBERG                                Trustee Name: RANDALL L. SEAVER, TRUSTEE
Case Name:           HOEMBERG, MICHAEL EDWIN                                                        Date Filed (f) or Converted (c):      08/30/16 (f)
                                                                                                    341(a) Meeting Date:                  10/03/16
 For Period Ending: 01/02/19
                                                                                                    Claims Bar Date:                      12/27/16


                                  1                                    2                       3                  4               5                           6
                                                                                      Estimated Net Value
                                                                                       (Value Determined       Property                                  Asset Fully
                                                                 Petition/              by Trustee, Less       Formally       Sale/Funds             Administered (FA)/
                          Asset Description                     Unscheduled            Liens, Exemptions,     Abandoned       Received by         Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)           Values                and Other Costs)      OA=554(a)        the Estate                  Assets

 1. SINGLE-FAMILY HOME,                                             260,000.00                         0.00                                0.00              FA
 DEBTOR'S RESIDENCE: HOMESTEAD
    Debtor Claimed Exemption
 2. SINGLE-FAMILY HOME,                                             161,600.00                         0.00                                0.00              FA
 NON-HOMESTEAD REAL PROPERTY L
 3. SINGLE-FAMILY HOME,                                                60,991.00                       0.00                                0.00              FA
 NON-HOMESTEAD RENTAL PROPERTY
 4. WESTGATE RESORTS TIMEHSARE                                              0.00                       0.00                                0.00              FA
 5. 2012 CHEVY EQUINOX (HAS SOME MINOR DAMAGE)                         16,000.00                       0.00                                0.00              FA
 MILEAGE
    Debtor Claimed Exemption
 6. HOUSEHOLD GOODS, FURNISHINGS, MAJOR AND                                4,000.00                    0.00                                0.00              FA
 MINOR APPL
    Debtor Claimed Exemption
 7. ELECTRONICS-TELEVISION, COMPUTER, CELL                                  600.00                     0.00                                0.00              FA
 PHONE
    Debtor Claimed Exemption
 8. BOOKS AND PICTURES                                                      120.00                     0.00                                0.00              FA
    Debtor Claimed Exemption
 9. GOLF CLUBS                                                               10.00                     0.00                                0.00              FA
    Debtor Claimed Exemption
 10. CLOTHING                                                              1,000.00                    0.00                                0.00              FA
    Debtor Claimed Exemption
 11. WEDDING RING AND MISCELLANEOUS JEWELRY                                 150.00                     0.00                                0.00              FA
    Debtor Claimed Exemption
 12. 21 YEAR OLD JOHN DEERE LAWNMOWER,                                     1,000.00                    0.00                                0.00              FA
 SNOWBLOWER, SHOV
 13. $2,200 CHECK AT HOME                                                  2,200.00                2,200.00                            2,221.68              FA
 14. CASH                                                                  1,564.00                1,564.00                            1,564.00              FA
 15. WINGS FINANCIAL ($1,452 OF THIS MONEY IS                              6,486.00                5,034.00                            5,034.00              FA
 SOCIAL SE
 16. WINGS FINANCIAL                                                          21.00                    0.00                                0.00              FA
 17. WINGS FINANCIAL                                                           5.00                    0.00                                0.00              FA
 18. PJ'S VENDING INC. THERE ARE NO BANK                                   5,500.00                    0.00                                0.00              FA
 ACCOUNTS. BUSI
 19. MP TRAVEL INC. BUSINESS OWNS CHECKING                                  171.45                     0.00                                0.00              FA
 ACCOUNT AT W
 20. ZINZINO BUSINESS. INVENTORY PRODUCT                                    300.00                     0.00                                0.00              FA
 (VALUE:$600.00
 21. PENSION                                                           Unknown                         0.00                                0.00              FA
 22. IRA                                                               60,000.00                       0.00                                0.00              FA
    Debtor Claimed Exemption
 23. TENANT OWES DEBTOR $4,000.00                                          4,000.00                    0.00                                0.00              FA
    DEBTOR SAYS THIS IS UNCOLLECTIBLE




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                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                    ASSET CASES                                                                                 Exhibit A
Case No:             16-42555              Judge: KATHLEEN H SANBERG                                Trustee Name: RANDALL L. SEAVER, TRUSTEE
Case Name:           HOEMBERG, MICHAEL EDWIN                                                        Date Filed (f) or Converted (c):      08/30/16 (f)
                                                                                                    341(a) Meeting Date:                  10/03/16
                                                                                                    Claims Bar Date:                      12/27/16


                                  1                                    2                       3                  4               5                            6
                                                                                      Estimated Net Value
                                                                                       (Value Determined       Property                                   Asset Fully
                                                                 Petition/              by Trustee, Less       Formally       Sale/Funds              Administered (FA)/
                          Asset Description                     Unscheduled            Liens, Exemptions,     Abandoned       Received by          Gross Value of Remaining
               (Scheduled and Unscheduled (u) Property)           Values                and Other Costs)      OA=554(a)        the Estate                   Assets

 24. WHOLE LIFE INSURANCE POLICY THROUGH WORK                              5,045.21                    0.00                                0.00               FA
 (FACE VAL
    Debtor Claimed Exemption
 25. POSSIBLE AVOIDANCE CLAIM WELLS FARGO                                   900.00                     0.00                                0.00               FA
    WELLS FARGO PREFERENCE
 26. BANK OF AMERICA PREFERENTIAL TRANSFER                                 2,500.00                1,875.00                            1,875.00               FA
 27. WINGS FINANCIAL SETTLEMENT                                              741.00                  556.00                              556.00               FA
 28. SYNCHRONY BANK PREFERENCE                                             1,793.00                1,793.00                            1,793.00               FA
 29. 2016 MN INCOME AND PROPERTY TAXES (u)                                     0.00                2,000.62                            2,000.62               FA
    $268.00 INCOME TAX REFUND
    $1,732.62 PROPERTY TAX REFUND
 30. 2016 FED TAX REFUND (u)                                                  0.00                  688.98                              688.98                FA
 31. POSSIBLE AVOIDANCE CLAIM TARGET CARD                                   600.00                    0.00                                0.00                FA
    TD BANK USA
 32. POSSIBLE AVOIDANCE CLAIM CHASE CARD                                    600.00                     0.00                                0.00               FA
 33. POSSIBLE AVOIDANCE CLAIM CHASE CARD                                    600.00                     0.00                                0.00               FA
 34. POSSIBLE AVOIDANCE CLAIM BOA                                           750.00                     0.00                                0.00               FA

                                                                                                                                                  Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                 $599,247.66                $15,711.60                         $15,733.28                            $0.00
                                                                                                                                                    (Total Dollar Amount
                                                                                                                                                           in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 THIS WOULD HAVE BEEN A SURPLUS CASE PER ORIGINAL BAR DATE. AFTER LETTER FROM TRUSTEE, FURTHER
 CLAIMS WERE FILED.

 Initial Projected Date of Final Report (TFR): 12/31/17          Current Projected Date of Final Report (TFR): 12/31/18




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                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                   Exhibit B
 Case No:                 16-42555                                                               Trustee Name:                RANDALL L. SEAVER, TRUSTEE
 Case Name:               HOEMBERG, MICHAEL EDWIN                                                Bank Name:                   Axos Bank
                                                                                                 Account Number / CD #:        *******0500 Checking Account
 Taxpayer ID No:          XX-XXXXXXX
 For Period Ending:       01/02/19                                                               Blanket Bond (per case limit): $ 26,510,000.00
                                                                                                 Separate Bond (if applicable):


      1               2                          3                                    4                                           5                    6                  7

 Transaction     Check or                                                                                       Uniform                           Disbursements    Account / CD
    Date         Reference             Paid To / Received From            Description Of Transaction          Trans. Code    Deposits ($)              ($)          Balance ($)

                                                                   BALANCE FORWARD                                                                                                0.00
    11/30/18                   Trsf In From ASSOCIATED BANK        INITIAL WIRE TRANSFER IN                      9999-000          15,516.00                              15,516.00




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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                      Exhibit B
 Case No:                  16-42555                                                               Trustee Name:                RANDALL L. SEAVER, TRUSTEE
 Case Name:                HOEMBERG, MICHAEL EDWIN                                                Bank Name:                   ASSOCIATED BANK
                                                                                                  Account Number / CD #:        *******8524 Checking Account
 Taxpayer ID No:           XX-XXXXXXX
 For Period Ending:        01/02/19                                                               Blanket Bond (per case limit): $ 26,510,000.00
                                                                                                  Separate Bond (if applicable):


      1                2                          3                                    4                                           5                    6                    7

 Transaction     Check or                                                                                        Uniform                           Disbursements      Account / CD
    Date         Reference              Paid To / Received From            Description Of Transaction          Trans. Code    Deposits ($)              ($)            Balance ($)

                                                                    BALANCE FORWARD                                                                                                  0.00
    09/23/16          15        WINGS FINANCIAL CREDIT UNION        BANK ACCOUNT                                  1129-000             5,034.00                               5,034.00
                                14985 GLAZIER AVE, SUITE 100
                                APPLE VALLEY, MN 55124-6539
    09/23/16          14        WINGS FINANCIAL CREDIT UNION        CASH ON HAND                                  1129-000             1,564.00                               6,598.00
                                CASHIER'S CHECK
                                14985 GLAZIER AVENUE, SUITE 100
                                APPLE VALLEY, MN 55124-6539
    09/27/16          13        AMERICAN FUNDS                      CHECK HELD BY DEBTOR                          1129-000             2,221.68                               8,819.68
                                WELLS FARGO BANK NA
    10/07/16                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   10.00            8,809.68
    11/07/16                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   13.10            8,796.58
    12/07/16                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   12.66            8,783.92
    01/09/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   13.06            8,770.86
    02/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   13.04            8,757.82
    03/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   11.76            8,746.06
    04/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   13.00            8,733.06
    05/05/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   12.56            8,720.50
    05/30/17       100001       INTERNATIONAL SURETIES, LTD         BOND PREMIUM                                  2300-000                                    2.71            8,717.79
                                SUITE 420, 701 POYDRAS ST           BOND #016018055
                                NEW ORLEANS, LA 70139
    06/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   12.96            8,704.83
    07/10/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   12.53            8,692.30
    08/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   12.92            8,679.38
    08/10/17          26        BANK OF AMERICA                     PREFERENCE RECOVERY                           1141-000             1,075.00                               9,754.38
                                1825 E BUCKEYE RD
                                PHOENIX, ARIZONA 85034-4216
    08/10/17          26        BANK OF AMERICA                     PREFERENCE RECOVERY                           1141-000              800.00                               10,554.38
                                1825 E BUCKEYE RD
                                PHOENIX, AZ 85034-4216
    08/15/17          27        WINGS FINANCAIL CREDIT UNION        WINGS FINANCIAL SETTLEMENT                    1141-000              556.00                               11,110.38
                                14985 GLAZIER AVE, SUITE 100
                                APPLE VALLEY, MN 55124-6539
    08/29/17          28        SYNCHRONY BANK                      PREFERENCE RECOVERY                           1141-000             1,793.00                              12,903.38
                                ATLANTA, GA
    09/08/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   15.28           12,888.10
    10/06/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   18.54           12,869.56
    11/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   19.13           12,850.43
    12/07/17                    ASSOCIATED BANK                     BANK SERVICE FEE                              2600-000                                   18.49           12,831.94
    12/27/17          29        MICHAEL HOEMBERG                    2016 MN INC AND PROP TAX REFUNDS              1224-000             2,000.62                              14,832.56
                                2520 BROOKDALE LN
                                BROOKLYN PARK, MN 55444
    01/04/18          30        MICHAEL HOEMBERG                    2016 FED TAX REFUND                           1224-000              688.98                               15,521.54
                                2520 BROOKDALE LN
                                BROOKLYN PARK, MN 55444
    06/02/18       100002       INTERNATIONAL SURETIES, LTD         BOND PREMIUM                                  2300-000                                    5.54           15,516.00
                                701 POYDRAS ST, SUITE 420           BOND #016018054
                                NEW ORLEANS, LA 70139




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                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                    Exhibit B
 Case No:                 16-42555                                                              Trustee Name:                RANDALL L. SEAVER, TRUSTEE
 Case Name:               HOEMBERG, MICHAEL EDWIN                                               Bank Name:                   ASSOCIATED BANK
                                                                                                Account Number / CD #:        *******8524 Checking Account
 Taxpayer ID No:          XX-XXXXXXX
 For Period Ending:       01/02/19                                                              Blanket Bond (per case limit): $ 26,510,000.00
                                                                                                Separate Bond (if applicable):


      1               2                           3                                  4                                           5                    6                     7

 Transaction     Check or                                                                                      Uniform                           Disbursements      Account / CD
    Date         Reference             Paid To / Received From           Description Of Transaction          Trans. Code    Deposits ($)              ($)            Balance ($)

    11/30/18                   Trsf To BofI Federal Bank           FINAL TRANSFER                               9999-000                               15,516.00                    0.00




                                                                                                                                           Total Of All Accounts           15,516.00



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                                                                             EXHIBIT C
 Page 1                                                                                                                            Date: January 02, 2019
                                                                      ANALYSIS OF CLAIMS REGISTER

  Case Number: 16-42555                                                  Claimant's Name Sequence
  Debtor Name: HOEMBERG, MICHAEL EDWIN
  Claims Bar Date: 12/27/16

 Code #            Creditor Name & Address               Claim Class      Notes                     Scheduled               Claimed             Allowed
 000005          CHASE BANK USA, NA                    Unsecured                                          $0.00           $6,534.15             $6,534.15
 080             C/O ROBERTSON ANSCHUTZ &
 7200-00         SCHNEID PL
                 6409 CONGRESS AVE, STE 100
                 BOCA RATON, FL 33487

 000004          NORTH PSYCHOLOGY CLINIC PA Unsecured                      Filed 11/16/18                 $0.00             $188.45               $188.45
 080             6120 EARLE BROWN DRIVE
 7200-00         STE 520
                 MINNEAPOLIS MN 55430-2123

 000001          RED ROCK FINANCIAL SERVICES Secured                       Filed 10/10/16                 $0.00           $1,916.84             $1,916.84
 050             4775 W TECO AVE # 140
 4210-00         LAS VEGAS, NV 89118

 000002          SYNCHRONY BANK                        Unsecured           Filed 12/20/16                 $0.00           $6,399.13             $6,399.13
 070             C/O PRA RECEIVABLES
 7100-00         MANAGEMENT, LLC
                 PO BOX 41021
                 NORFOLK VA 23541

 000003          WELLS FARGO BANK, N.A.                Unsecured           Filed 12/21/16                 $0.00           $5,952.40             $5,952.40
 070             WELLS FARGO CARD SERVICES
 7100-00         PO BOX 10438, MAC F8235-02F
                 DES MOINES, IA 50306-0438




                     Case Totals:                                                                         $0.00          $20,990.97            $20,990.97
          Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 16-42555 KHS
     Case Name: HOEMBERG, MICHAEL EDWIN
     Trustee Name: RANDALL L. SEAVER, TRUSTEE
                         Balance on hand                                              $                15,516.00

               Claims of secured creditors will be paid as follows:

                                                             Allowed            Interim
                                                             Amount of          Payment to         Proposed
       Claim No. Claimant                     Claim Asserted Claim              Date               Payment
                      RED ROCK
                      FINANCIAL
       000001         SERVICES               $     1,916.84 $         1,916.84 $           0.00 $             0.00
                 Total to be paid to secured creditors                                $                       0.00
                 Remaining Balance                                                    $                15,516.00


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                           Interim Payments Proposed
                         Reason/Applicant                Total Requested   to Date          Payment
       Trustee Fees: RANDALL L. SEAVER,
       TRUSTEE                                           $       2,323.33 $               0.00 $         2,323.33
       Trustee Expenses: RANDALL L. SEAVER,
       TRUSTEE                              $                      142.38 $               0.00 $          142.38
                 Total to be paid for chapter 7 administrative expenses               $                  2,465.71
                 Remaining Balance                                                    $                13,050.29


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                              NONE




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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 12,351.53 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     000002               SYNCHRONY BANK             $         6,399.13 $              0.00 $         6,399.13
                          WELLS FARGO BANK,
     000003               N.A.                       $         5,952.40 $              0.00 $         5,952.40
                 Total to be paid to timely general unsecured creditors               $              12,351.53
                 Remaining Balance                                                    $                 698.76




             Tardily filed claims of general (unsecured) creditors totaling $ 6,722.60 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 10.4 percent.

                 Tardily filed general (unsecured) claims are as follows:




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                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
                          NORTH PSYCHOLOGY
     000004               CLINIC PA                   $          188.45 $              0.00 $            19.59
     000005               CHASE BANK USA, NA          $        6,534.15 $              0.00 $           679.17
                 Total to be paid to tardy general unsecured creditors                $                 698.76
                 Remaining Balance                                                    $                   0.00




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                             NONE




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